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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  VALTRUS INNOVATIONS LTD. AND                   §
  KEY PATENT INNOVATIONS LTD.,                   §
                                                 §
                 Plaintiffs,                     §
                                                 §     CIVIL ACTION NO. 2:24-CV-00777-JRG
  v.                                             §               (LEAD CASE)
                                                 §
  DATABANK HOLDINGS, LTD.,                       §
                                                 §
                 Defendant.                      §
                                                 §


  VALTRUS INNOVATIONS LTD. AND                   §
  KEY PATENT INNOVATIONS LTD.,                   §
                                                 §
                 Plaintiffs,                     §
                                                 §
  v.                                             §     CIVIL ACTION NO. 2:24-CV-00776-JRG
                                                 §              (MEMBER CASE)
  TIERPOINT, LLC,                                §
                                                 §
                 Defendant.                      §
                                                 §

                                     PROTECTIVE ORDER

        WHEREAS, Plaintiffs Valtrus Innovations Ltd. and Key Patent Innovations Ltd.

 (collectively “Plaintiff” or “Valtrus”), Defendant DataBank Holdings, Ltd. (“DataBank”), and

 Defendant TierPoint, LLC (“TierPoint”) (DataBank and TierPoint are collectively referred to as

 “Defendants” and individually as a “Defendant”), hereafter referred to as “the Parties,” believe

 that certain information that is or will be encompassed by discovery demands by the Parties

 involves the production or disclosure of trade secrets, confidential business information, or other

 proprietary information.

        WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance

 with Federal Rule of Civil Procedure 26(c):
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         THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

    1. Each Party 1 may designate as confidential for protection under this Order, in whole or in

        part, any document, information, or material that constitutes or includes, in whole or in

        part, confidential, or proprietary information or trade secrets of the Party or a Third Party

        to whom the Party reasonably believes it owes an obligation of confidentiality with respect

        to such document, information, or material (“Protected Material”). Protected Material shall

        be designated by the Party producing it by affixing a legend or stamp on such document,

        information,    or   material   as   follows:      “CONFIDENTIAL,”       “RESTRICTED         –

        ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE.”

        The proper designation shall be placed clearly on each page, electronic file, or electronic

        media containing electronic files of the Protected Material (except deposition and hearing

        transcripts) for which such protection is sought. For deposition and hearing transcripts, the

        designation shall be placed on the cover page of the transcript (if not already present on the

        cover page of the transcript when received from the court reporter) by each attorney

        receiving a copy of the transcript after that attorney receives notice of the designation of

        some or all of that transcript under this Order.

    2. Any document produced under Patent Rules 2-2, 3-2, and/or 3-4 before issuance of this

        Order with the designation “CONFIDENTIAL” or “RESTRICTED CONFIDENTIAL –

        OUTSIDE COUNSEL EYES’ ONLY” shall receive the same treatment as if designated

        “RESTRICTED – ATTORNEYS’ EYES ONLY” under this Order, unless and until such

        document is redesignated to have a different classification under this Order.



        1
          In addition to the named plaintiff(s) and defendant(s) to this lawsuit, “Party” and “Parties”
 also refers Third Parties (defined below) pursuant to paragraphs 21 and 22 of this Order.



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    3. With respect to documents, information, or material designated “CONFIDENTIAL,”

       “RESTRICTED – ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

       SOURCE CODE” (“DESIGNATED MATERIAL”), 2 subject to the provisions herein and

       unless otherwise stated, this Order governs, without limitation: (a) all documents,

       electronically stored information, and/or things as defined by the Federal Rules of Civil

       Procedure; (b) all pretrial, hearing, or deposition testimony, or documents marked as

       exhibits or for identification in depositions and hearings; (c) pretrial pleadings, exhibits to

       pleadings and other court filings; (d) affidavits; (e) expert reports; and (f) stipulations. All

       copies, reproductions, extracts, digests, and complete or partial summaries prepared from

       any DESIGNATED MATERIALS shall also be considered DESIGNATED MATERIAL

       and treated as such under this Order.

    4. A designation of Protected Material (i.e., “CONFIDENTIAL,” “RESTRICTED –

       ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE”)

       may be made at any time. Inadvertent or unintentional production of documents,

       information, or material that has not been designated as DESIGNATED MATERIAL shall

       not be deemed a waiver in whole or in part of a claim for confidential treatment. Any party

       that inadvertently or unintentionally produces Protected Material without designating it as

       DESIGNATED MATERIAL may request destruction of that Protected Material by

       notifying the recipient(s), as soon as reasonably possible after the producing Party becomes

       aware of the inadvertent or unintentional disclosure, and providing replacement Protected



       2
          The term DESIGNATED MATERIAL is used throughout this Protective Order to refer
 to the class of materials designated as “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’
 EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE,” both individually and
 collectively.



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        Material that is properly designated. The recipient(s) shall then destroy all copies of the

        inadvertently or unintentionally produced Protected Materials and any documents,

        information or material derived from or based thereon.

    5. “CONFIDENTIAL” documents, information and material may be disclosed only to the

        following persons, except upon receipt of the prior written consent of the designating party,

        upon order of the Court, or as set forth in paragraph 15 herein:

        (a)     Outside counsel of record in this Action for the Parties;

        (b)     Employees of such counsel assigned to and reasonably necessary to assist such
                counsel in the litigation of this Action;

        (c)     In-house counsel for the Parties and up to two additional designated representatives
                who are affiliated with a Party who either have responsibility for making decisions
                dealing directly with the litigation of this Action, or who are assisting outside
                counsel in the litigation of this Action, except that in-house counsel for a Defendant
                shall not have access to information or materials of any other Defendant; 3

        (d)     Outside consultants or experts 4 (i.e., not existing employees or affiliates of a Party
                or an affiliate of a Party) retained for the purpose of this litigation, provided that:
                (1) such consultants or experts are not presently employed by a Party hereto for
                purposes other than this Action (not including outside consultants or experts who
                have also been retained by the same Party for another Action); (2) before access is
                given, the consultant or expert has completed the Undertaking attached as
                Appendix A hereto and the same is served upon the producing Party with a current
                curriculum vitae of the consultant or expert and a list of cases, for which the
                consultant or expert presented testimony (including, but not limited to, written
                testimony, deposition testimony, and live trial testimony) in the past six years, at
                least ten (10) days before access to the Protected Material is to be given to that
                consultant or expert, so that the producing Party may object to and notify the
                receiving Party in writing that it objects to disclosure of Protected Material to the
                consultant or expert. The Parties agree to promptly confer and use good faith to
                resolve any such objection. If the Parties are unable to resolve any objection, the

        3
          This Protective Order does not confer any right to any one Defendant to access the
 Protected Material of any other Defendant.
        4
           An outside consultant or expert is defined to include the outside consultant’s or expert’s
 direct reports and other support personnel, such that the disclosure to a consultant or expert who
 employs others within his or her firm to help in his or her analyses shall count as disclosure to a
 single consultant or expert.



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               objecting Party may file a motion with the Court within fifteen (15) days of the
               notice, or within such other time as the Parties may agree, seeking a protective order
               with respect to the proposed disclosure. The objecting Party shall have the burden
               of proving the need for a protective order. No disclosure shall occur until all such
               objections are resolved by agreement or Court order.

       (e)     Independent litigation support services, including persons working for or as court
               reporters, graphics or design services, jury or trial consulting services, and
               photocopy, document imaging, and database services retained by counsel and
               reasonably necessary to assist counsel with the litigation of this Action;

       (f)     The Court and its personnel.

    6. A Party shall designate documents, information, or material as “CONFIDENTIAL” only

       upon a good faith belief that the documents, information or material contains confidential

       or proprietary information or trade secrets of the Party or a Third Party to whom the Party

       reasonably believes it owes an obligation of confidentiality with respect to such documents,

       information, or material.

    7. Documents, information, or material produced pursuant to any discovery request in this

       Action, including but not limited to Protected Material designated as DESIGNATED

       MATERIAL, shall be used by the Parties only in the litigation of this Action and shall not

       be used for any other purpose. Any person or entity who obtains access to DESIGNATED

       MATERIAL or the contents thereof pursuant to this Order shall not make any copies,

       duplicates, extracts, summaries, or descriptions of such DESIGNATED MATERIAL or

       any portion thereof except as may be reasonably necessary in the litigation of this Action.

       Any such copies, duplicates, extracts, summaries, or descriptions shall be classified

       DESIGNATED MATERIALS and subject to all of the terms and conditions of this Order.

    8. To the extent a producing Party believes that certain Protected Material qualifying to be

       designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

       limitation, the producing Party may designate such Protected Material “RESTRICTED –



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       ATTORNEYS’ EYES ONLY,” or to the extent such Protected Material includes computer

       source code and/or live data (that is, data as it exists residing in a database or databases)

       (“Source Code Material”), the producing Party may designate such Protected Material as

       “RESTRICTED CONFIDENTIAL SOURCE CODE.”

    9. For Protected Material designated RESTRICTED - ATTORNEYS’ EYES ONLY, access

       to, and disclosure of, such Protected Material shall be limited to individuals listed in

       paragraphs 5(a-b) and (d-f).

    10. For Protected Material designated RESTRICTED CONFIDENTIAL SOURCE CODE, the

       following additional restrictions apply:

       (a)    Access to a Party’s Source Code Material shall be provided only on a “stand-alone”
              password-protected computer (that is, the computer may not be linked to any
              network, including a local area network (“LAN”), an intranet or the Internet)
              (“Source Code Computer”). The Source Code Computer may be connected to (i) a
              printer, or (ii) a device capable of temporarily storing electronic copies solely for
              the limited purposes permitted pursuant to paragraphs 10 (h and k) below.
              Additionally, except as provided in paragraph 10 (k) below, or absent agreement
              otherwise by the Parties (including the Parties and the producing Party, if different),
              the Source Code Computer may only be located at the offices of the producing
              Party’s outside counsel;

       (b)    The receiving Party shall make reasonable efforts to restrict its requests for such
              access to the Source Code Computer to normal business hours, which for purposes
              of this paragraph shall be 8:30 a.m. through 5:30 p.m. However, upon reasonable
              notice from the receiving party, the producing Party shall make reasonable efforts
              to accommodate the receiving Party’s request for access to the Source Code
              Computer outside of normal business hours. The Parties agree to cooperate in good
              faith such that maintaining the producing Party’s Source Code Material at the
              offices of its outside counsel shall not unreasonably hinder the receiving Party’s
              ability to efficiently and effectively conduct the prosecution or defense of this
              Action;

       (c)    The producing Party shall provide the receiving Party with information explaining
              how to start, log on to, and operate the Source Code Computer in order to access
              the produced Source Code Material on the Source Code Computer;

       (d)    The producing Party will produce Source Code Material in computer searchable
              format on the Source Code Computer. The receiving Party may request software



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                tools for viewing and searching the Source Code Material be installed on the
                computer, provided, however, that such review of the Source Code Material are in
                compliance with all of the terms, conditions, and protections herein. The receiving
                Party must provide the producing Party with the CD or DVD containing such
                licensed software tool(s), or a link to a website where the software may be
                downloaded for installation together with any necessary license, at least five (5)
                business days in advance of the date upon which the receiving Party wishes to have
                the software tools available for use on the computer. Should the producing Party
                have any concerns about the requested tool, such as that they are used for things
                other than reviewing and searching source code or not commonly accepted in the
                industry, the Parties shall meet and confer in good faith to resolve any such
                concerns. Otherwise, assuming the above conditions are met, the producing Party
                shall install the requested software tools on the Source Code Computer;

        (e)     Access to Protected Material designated RESTRICTED CONFIDENTIAL –
                SOURCE CODE shall be limited to outside counsel and up to three (3) outside
                consultants or experts per Defendant 5 (i.e., not existing employees or affiliates of a
                Party or an affiliate of a Party) retained for the purpose of this litigation and
                approved to access such Protected Materials pursuant to paragraph 5(e) above. A
                receiving Party may include excerpts of Source Code Material in a pleading,
                exhibit, expert report, discovery document, deposition transcript, or other Court
                document (“Source Code Documents”), provided that the Source Code Documents
                are appropriately marked under this Order, restricted to those who are entitled to
                have access to them as specified herein, and, if filed with the Court, filed under seal
                in accordance with the Court’s rules, procedures and orders;

        (f)     To the extent portions of Source Code Material are quoted in a Source Code
                Document, either (1) the entire Source Code Document will be stamped and treated
                as RESTRICTED CONFIDENTIAL SOURCE CODE or (2) those pages
                containing quoted Source Code Material will be separately stamped and treated as
                RESTRICTED CONFIDENTIAL SOURCE CODE;

        (g)     Except as set forth in paragraphs 10(k) below, no electronic copies of Source Code
                Material shall be made without prior written consent of the producing Party, except
                as necessary to create documents which, pursuant to the Court’s rules, procedures
                and order, must be filed or served electronically;

        (h)     The receiving Party shall be permitted to make a reasonable number of printouts
                and photocopies of Source Code Material, all of which shall be designated and
                clearly labeled “RESTRICTED CONFIDENTIAL SOURCE CODE,” and the
                receiving Party shall maintain a log of all such files that are printed or photocopied;

        5
          For the purposes of this paragraph, an outside consultant or expert is defined to include
 the outside consultant’s or expert’s direct reports and other support personnel, such that the
 disclosure to a consultant or expert who employs others within his or her firm to help in his or her
 analysis shall count as a disclosure to a single consultant or expert.



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       (i)     Should such printouts or photocopies be transferred back to electronic media, such
               media shall be labeled “RESTRICTED CONFIDENTIAL SOURCE CODE” and
               shall continue to be treated as such;

       (j)     If the receiving Party’s outside counsel, consultants, or experts obtain printouts or
               photocopies of Source Code Material, the receiving Party shall ensure that such
               outside counsel, consultants, or experts keep the printouts or photocopies in a
               secured locked area in the offices of such outside counsel, consultants, or expert.
               The receiving Party may also temporarily keep the printouts or photocopies at: (i)
               the Court for any proceedings(s) relating to the Source Code Material, for the dates
               associated with the proceeding(s); (ii) the sites where any deposition(s) relating to
               the Source Code Material are taken, for the dates associated with the deposition(s);
               and (iii) any intermediate location reasonably necessary to transport the printouts
               or photocopies (e.g., a hotel prior to a Court proceeding or deposition); and

       (k)     A producing Party’s Source Code Material may only be transported by the
               receiving Party at the direction of a person authorized under paragraph 10(e) above
               to another person authorized under paragraph 10(e) above, on paper or removable
               electronic media (e.g., a DVD, CD-ROM, or flash memory “stick”) via hand carry,
               Federal Express or other similarly reliable courier. Source Code Material may not
               be transported or transmitted electronically over a network of any kind, including a
               LAN, an intranet, or the Internet. Source Code Material may only be transported
               electronically for the purpose of Court proceeding(s) or deposition(s) as set forth in
               paragraph 10(j) above and is at all times subject to the transport restrictions set forth
               herein. But, for those purposes only, the Source Code Materials may be loaded onto
               a stand-alone computer.

    11. Absent written consent of the Producing Party, any attorney representing a Party, whether

       in-house or outside counsel, and any person associated with a Party and permitted to

       receive the other Party’s Protected Material is designated RESTRICTED - ATTORNEYS’

       EYES ONLY and/or RESTRICTED CONFIDENTIAL SOURCE CODE (collectively

       “HIGHLY SENSITIVE MATERIAL”), who obtains, receives, has access to, or otherwise

       learns, in whole or in part, the other Party’s HIGHLY SENSITIVE MATERIAL under this

       Order shall not prepare, prosecute, supervise, or assist in the preparation or original

       prosecution of any patent application, pertaining to the field of the invention of the patents-

       in-suit, including but not limited to the subject matter of the current litigation during the




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       pendency of this Action and for one year after its conclusion, including any appeals. To

       ensure compliance with the purpose of this provision, each Party shall create an “Ethical

       Wall” between those persons with access to HIGHLY SENSITIVE MATERIAL and any

       individuals who, on behalf of the Party or its acquirer, successor, predecessor, or other

       affiliate, prepare, prosecute, supervise or assist in the preparation or prosecution of any

       patent application pertaining to the field of invention of the patents-in-suit. For clarity,

       nothing in this section shall prohibit any person, including outside counsel and/or experts

       from participating (including as it might concern claim amendments or additions) in a post-

       grant proceeding at the United States Patent and Trademark Office including without

       limitation any inter partes review or ex parte reexamination proceedings but such person(s)

       shall not participate in the drafting or prosecution of any amended claims or amendment

       by argument in such post-grant proceedings with respect to a proceeding filed or initiated

       by any Defendant with respect to the patents-in-suit. For further clarity, this paragraph 11

       applies only to HIGHLY SENSITIVE MATERIAL that is technical in nature, but not to

       material that is non-technical (such as financial information). This prosecution bar shall

       begin when HIGHLY SENSITIVE MATERIAL is first reviewed by the affected

       individual.

    12. Nothing in this Order shall require production of documents, information, or other material

       that a Party contends is protected from disclosure by the attorney-client privilege, the work

       product doctrine, or other privilege, doctrine, or immunity. If documents, information, or

       other material subject to a claim of attorney-client privilege, work product doctrine, or

       other privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

       production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,




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       any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally

       produces documents, information or other material it reasonably believes are protected

       under the attorney-client privilege, work product doctrine, or other privilege, doctrine, or

       immunity may obtain the return of such documents, information or other material by

       promptly notifying the recipient(s) and providing a privilege log for the inadvertently or

       unintentionally produced documents, information or other material. The recipient(s) shall

       destroy all copies of such documents, information or other material, certify the destruction

       of same to the producing Party, and make reasonable, good faith efforts to further prevent

       unauthorized disclosure and secure the agreement of any recipient not to further

       disseminate the protected material in any form. The producing party shall then promptly

       provide a redacted version of the inadvertently produced document redacting any part of

       the document that the producing party contends is privileged.

    13. There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

       to have access thereto to any person who is not authorized for such access under this Order.

       The Parties are hereby ORDERED to safeguard all such documents, information and

       material to protect against disclosure to any unauthorized persons or entities.

    14. Insofar as Plaintiff requests an inspection of one or more of Defendants’ data center(s),

       such inspection shall be conducted at a mutually agreeable time within a reasonable time

       after Plaintiff requests such an inspection, under parameters that preserve the operability,

       confidentiality, and security of the data center. All Protected Material viewed on the

       inspection of a data center shall be treated as DESIGNATED MATERIALS and designated

       as “RESTRICTED –ATTORNEYS’ EYES ONLY.” Only Plaintiff’s outside counsel and

       outside experts who are permitted to review DESIGNATED MATERIALS may attend the




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       inspection. Plaintiff’s outside counsel and/or outside expert(s) must execute the

       Undertaking of Exhibit A to the Protective Order before performing inspections. Nothing

       in this paragraph shall prevent Defendants from objecting, with cause, to a specific request

       for inspection..

    15. Nothing contained herein shall be construed to prejudice any Party’s right to use any

       DESIGNATED MATERIAL in taking testimony at any deposition or hearing or in

       participating in mediation or settlement discussions provided that the DESIGNATED

       MATERIAL is only disclosed to a person(s) who is: (i) eligible to have access to the

       DESIGNATED MATERIAL by virtue of his or her employment with the designating

       party; (ii) identified in the DESIGNATED MATERIAL as an author, addressee, or copy

       recipient of such information; (iii) although not identified as an author, addressee, or copy

       recipient of such DESIGNATED MATERIAL, has, in the ordinary course of business,

       seen such DESIGNATED MATERIAL; (iv) a current or former officer, director or

       employee of the producing Party or a current or former officer, director, or employee of a

       company affiliated with the producing Party; (v) counsel for a Party, including outside

       counsel and in-house counsel (subject to paragraph 9 of this Order); (vi) an independent

       contractor, consultant, and/or expert retained for the purpose of this litigation; (vii) court

       reporters and videographers; (viii) the Court; or (ix) other persons entitled hereunder to

       access to DESIGNATED MATERIAL. DESIGNATED MATERIAL shall not be

       disclosed to any other persons unless prior authorization is obtained from counsel

       representing the producing Party or from the Court.

    16. Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

       deposition or hearing transcript, designate the deposition or hearing transcript or any




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       portion thereof as “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’ EYES ONLY,”

       or “RESTRICTED CONFIDENTIAL SOURCE CODE” pursuant to this Order. Access to

       the deposition or hearing transcript so designated shall be limited in accordance with the

       terms of this Order. Until expiration of the 30-day period, the entire deposition or hearing

       transcript shall be treated as RESTRICTED – ATTORNEYS’ EYES ONLY.

    17. Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

       shall remain under seal until further order of the Court. The filing party shall be responsible

       for informing the Clerk of the Court that the filing should be sealed and for placing the

       legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

       caption and conspicuously on each page of the filing. Exhibits to a filing shall conform to

       the labeling requirements set forth in this Order. If a pretrial pleading filed with the Court,

       or an exhibit thereto, discloses or relies on confidential documents, information, or

       material, such confidential portions shall be redacted to the extent necessary and the

       pleading or exhibit filed publicly with the Court.

    18. The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

       the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

       this Action, or from using any information contained in DESIGNATED MATERIAL at

       the trial of this Action, subject to any pretrial order issued by this Court.

    19. A Party may request in writing to the other Party that the designation given to any

       DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does not

       agree to redesignation within ten (10) days of receipt of the written request, the requesting

       Party may apply to the Court for relief. Upon any such application to the Court, the burden

       shall be on the designating Party to show why its classification is proper. Such application




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       shall be treated procedurally as a motion to compel pursuant to Federal Rules of Civil

       Procedure 37, subject to the Rule’s provisions relating to sanctions. In making such

       application, the requirements of the Federal Rules of Civil Procedure and the Local Rules

       of the Court shall be met. Pending the Court’s determination of the application, the

       designation of the designating Party shall be maintained.

    20. Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

       accordance with the terms of this Order shall be advised by counsel of the terms of this

       Order, shall be informed that he or she is subject to the terms and conditions of this Order,

       and shall sign an acknowledgment that he or she has received a copy of, has read, and has

       agreed to be bound by this Order. A copy of the acknowledgment form is attached as

       Appendix A.

    21. To the extent that any discovery is taken of persons who are not Parties to this Action

       (“Third Parties”) and in the event that such Third Parties contended the discovery sought

       involves trade secrets, confidential business information, or other proprietary information,

       then such Third Parties may agree to be bound by this Order.

    22. To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

       designate as “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’ EYES ONLY,” or

       “RESTRICTED CONFIDENTIAL SOURCE CODE” any documents, information, or

       other material, in whole or in part, produced or given by such Third Parties. The Third

       Parties shall have ten (10) days after production of such documents, information, or other

       materials to make such a designation. Until that time period lapses or until such a

       designation has been made, whichever occurs sooner, all documents, information or other




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       material so produced or given shall be treated as “RESTRICTED – ATTORNEYS’ EYES

       ONLY” in accordance with this Order.

    23. Within sixty (60) days of final termination of this Action, including any appeals, all

       DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes,

       summaries, descriptions, and excerpts or extracts thereof (excluding excerpts or extracts

       incorporated into any privileged memoranda of the Parties and materials which have been

       admitted into evidence in this Action), shall at the producing Party’s election either be

       returned to the producing Party or be destroyed. The receiving Party shall verify the return

       or destruction by affidavit furnished to the producing Party, upon the producing Party’s

       request. Notwithstanding the foregoing, outside counsel of record shall be entitled to

       maintain copies of all pleadings, expert reports, motions, and trial briefs (including all

       supporting and opposing papers and exhibits thereto), written discovery requests and

       responses (and exhibits thereto), deposition transcripts (and exhibits thereto), trial

       transcripts, hearing transcripts, exhibits offered or introduced into evidence at any hearing

       or trial, emails and their attachments, and their attorney work product which refers or is

       related to any DESIGNATED MATERIAL for archival purposes only. Any such archived

       copies that contain or constitute DESIGNATED MATERIAL remain subject to this Order

       and shall be maintained in confidence by outside counsel for the Party retaining the

       materials. This provision does not apply to the Court, including court personnel and the

       Court’s reporter. Any destruction obligations under this Protective Order shall not apply to

       electronically-stored information in archival form stored on backup tapes or computer

       servers that are created only for disaster recovery purposes, provided that such electronic

       archives are not used as reference materials for a receiving Party’s business operations.




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    24. The failure to designate documents, information, or material in accordance with this Order

       and the failure to object to a designation at a given time shall not preclude the filing of a

       motion at a later date seeking to impose such designation or challenging the propriety

       thereof. The entry of this Order and/or the production of documents, information, and

       material hereunder shall in no way constitute a waiver of any objection to the furnishing

       thereof, all such objections being hereby preserved.

    25. Any Party (including any Third Party that has produced DESIGNATED MATERIAL)

       knowing or believing that any other Party is in violation of or intends to violate this Order

       and has raised the question of violation or potential violation with that Party and has been

       unable to resolve the matter by agreement may move the Court for such relief as may be

       appropriate in the circumstances. Pending disposition of the motion by the Court, the Party

       alleged to be in violation of or intending to violate this Order shall discontinue the

       performance of and/or shall not undertake the further performance of any action alleged to

       constitute a violation of this Order.

    26. Production of DESIGNATED MATERIAL by each of the Parties or by any Third Parties

       shall not be deemed a publication of the documents, information, and material (or the

       contents thereof) produced so as to void or make voidable whatever claim the Parties may

       have as to the proprietary and confidential nature of the documents, information, or other

       material or their contents.

    27. Nothing in this Order shall be construed to effect an abrogation, waiver, or limitation of

       any kind on the rights of each of the Parties to assert any applicable discovery or trial

       privilege.




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    28. Each of the Parties shall also retain the right to file a motion with the Court (a) to modify

       this Order to allow disclosure of DESIGNATED MATERIAL to additional persons or

       entities if reasonably necessary to prepare and present this Action and (b) to apply for

       additional protection of DESIGNATED MATERIAL.

   So ORDERED and SIGNED this 14th day of February, 2025.




                                                      ____________________________________
                                                      RODNEY GILSTRAP
                                                      UNITED STATES DISTRICT JUDGE




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 Valtrus Innovations Ltd. and                  §       CASE NO. 2:24-cv-00777-JRG
 Key Patent Innovations Ltd.                   §
                                               §       JURY TRIAL DEMANDED
                   Plaintiffs,                 §
      v.                                       §
                                               §       LEAD CASE
 DataBank Holdings, Ltd.                       §
                                               §
                  Defendant.                   §
 Valtrus Innovations Ltd. and                  §       CASE NO. 2:24-cv-00776-JRG
 Key Patent Innovations Ltd.                   §
                                               §       JURY TRIAL DEMANDED
                   Plaintiffs,                 §
       v.                                      §
                                               §
 TierPoint, LLC,                               §
                                               §
                   Defendant.                  §

                               APPENDIX A
            UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                           PROTECTIVE ORDER

       I, ___________________________________________, declare that:

 1.    My address is _________________________________________________________.

       My current employer is _________________________________________________.

       My current occupation is ________________________________________________.

 2.    I have received a copy of the Protective Order in this action. I have carefully read and

       understand the provisions of the Protective Order.

 3.    I will comply with all of the provisions of the Protective Order. I will hold in confidence,

       will not disclose to anyone not qualified under the Protective Order, and will use only for

       purposes of this action any information designated as “CONFIDENTIAL,”

       “RESTRICTED – ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL



                                                   1
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       SOURCE CODE” that is disclosed to me.

 4.    Promptly upon termination of these actions, I will return all documents and things

       designated as “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’ EYES ONLY,”

       or “RESTRICTED CONFIDENTIAL SOURCE CODE” that came into my possession,

       and all documents and things that I have prepared relating thereto, to the outside counsel

       for the party by whom I am employed.

 5.    I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

       Protective Order in this action.

       I declare under penalty of perjury that the foregoing is true and correct.

 Signature ________________________________________

 Date ________________________________________




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